                        UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF NORTH CAROLINA
                            STATESVILLE DIVISION
                               File No. 5:13-CV-66

DIANA LOUISE HOUCK

                                   PLAINTIFF

                      V.
                                                          NOTICE OF APPEAL
LIFESTORE BANK, F.S.A., GRID
FINANCIAL SERVICES, INC., and
SUBSTITUTE TRUSTEE SERVICES, INC.

                              DEFENDANTS

NOTICE is hereby given that Plaintiff in the above-named case, Diana Louise Houck, hereby

appeals to the United States Court of Appeals for the Fourth Circuit from the Final Judgment,

entered in this action on 8 March 2021.

TODAY is March 12, 2021.

                                     COLLUM & PERRY

                             By:     /s/ M. Shane Perry
                                     M. Shane Perry
                                     NC Bar No. 35498
                                     109 W. Statesville Ave.
                                     Mooresville, NC 28115
                                     shane@collumperry.com
                                      Attorney for Plaintiff




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                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                                File No. 5:13-CV-66

DIANA LOUISE HOUCK and STEVEN G.
TATE, CHAPTER 13 TRUSTEE

                                     PLAINTIFF

                      V.
                                                               NOTICE OF APPEAL
LIFESTORE BANK, F.S.A., GRID
FINANCIAL SERVICES, INC., and
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                               DEFENDANTS

                                      CERTIFICATE OF SERVICE

I, M. Shane Perry, do hereby certify that the foregoing NOTICE OF APPEAL in this action
was served electronically through the CM/ECF system to:

LifeStore Bank, FSA            Grid Financial Services, Inc.    Substitute Trustee Services, Inc.
c/o Andrew Freeman             c/o Robert Mays                  c/o Joseph Vonnegut
Bell, Davis Pitt               Mays Law Firm                    Hutchens Law Firm
100 N. Cherry Str., Ste. 600   21 Battery Park Ave. Ste 201     4317 Ramsey Street
Winston-Salem, NC 27101        Asheville, NC 28801              Fayetteville, NC 28302
afreeman@belldavispitt.com     rmays@mayslawfirmnc.com          Joe.Vonnegut@hutchenslawfirm.com
Attorney for Defendant         Attorney for Defendant           Attorney for Defendant
Lifestore Bank, FSA            Grid Financial Services, Inc.    Substitute Trustee Services

TODAY is March 12, 2021.

                                       COLLUM & PERRY

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